                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                                  5:05CV228-3-V
                                  (5:02CR37-5-V)


KEVIN MAURICE LINDER,               )
                                    )
      Petitioner,                   )
                                    )
             v.                     )                         ORDER
                                    )
UNITED STATES OF AMERICA,           )
      Respondent.                   )
____________________________________)

       THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside, Or Correct

Sentence under 28 U.S.C. § 2255, (Document No. 1), filed July 5, 2005 and Respondent’s Motion

for Summary Judgment (Document No. 5.) The Court notes that although Petitioner was advised

by Order dated November 7, 2005 that he had thirty days to respond to Respondent’s Motion for

Summary Judgment, the Court received a letter from Petitioner on January 17, 2004 which was dated

December 4, 2005, responding to Respondent’s Motion for Summary Judgment.1 (Document No.

7.) For the reasons stated herein, the Government’s Motion for Summary Judgment shall be granted

and the Petitioner’s Motion to Vacate shall be dismissed.




       1
         It is not clear to the Court why the Court did not receive the letter before this date. In
any event, Petitioner states in the letter that he called his attorney “[f]rom around May 11th and
June 10th of 2004 ...” after he received his letter explaining that the Fourth Circuit denied his
appeal and specifically asked his attorney to file a writ of certiorari with the Supreme Court of the
United States on his behalf. The Court directed the Clerk to file this letter as Petitioner’s
response to Respondent’s Motion for Summary Judgment.

                                                  1


        Case
       Case   5:02-cr-00037-KDB Document
            5:02-cr-00037-KDB   Document369
                                         369 Filed
                                             Filed08/07/06
                                                   08/07/06 Page
                                                             Page1 of 99
                                                                   1 of
                     1. FACTUAL AND PROCEDURAL BACKGROUND

        A review of the record reveals that on September 10, 2002 Petitioner was indicted for

conspiracy to possess with intent to distribute cocaine and cocaine base in violation of 21 U.S.C. §§

841 and 846. On March 28, 2003 Petitioner pled guilty to this charge without a plea agreement. On

July 7, 2003 Petitioner appeared before the Court for sentencing at which time he reaffirmed his

admission of guilty to the charged offense, lodged no objection to the Presentence Report (“PSR”)

and stipulated to the amount of drugs for which he could be held accountable. Specifically, Petitioner

stipulated that he was accountable for 1.5 kilograms or more of cocaine base. The Court adopted

the PSR for all purposes finding that it accurately calculated Petitioner’s offense level as 37 and

criminal history as 6, yielding a guideline sentencing range of 360 months to life in prison.

Thereafter, the government moved for a downward departure of four offense levels based on

Petitioner’s cooperation and substantial assistance. The Court granted the government’s motion and

sentenced Petitioner to 215 months.

        On September 17, 2003, Petitioner filed a pro se Letter/Notice of Appeal and on September

25, 2003 he filed a “Motion for Extension To File Notice of Appeal.” In support of his motion for

an extension of time, Petitioner alleged that he instructed his trial counsel via letter dated July 10,

2003 that he wished to appeal his conviction and sentence. Counsel acknowledged that he received

such letter, but explained that Petitioner initially indicated he did not wish to appeal but two days later

wrote counsel a letter indicating otherwise. Upon receipt of such letter, counsel requested that

Petitioner particularize what errors he wished to appeal. In the meantime, Defendant wrote the Clerk

of Court inquiring about his ability to appeal. The Clerk construed Petitioner’s letter as a Notice of

Appeal. In light of the above, this Court found that Petitioner had demonstrated “excusable neglect”


                                                     2


        Case
       Case   5:02-cr-00037-KDB Document
            5:02-cr-00037-KDB    Document369
                                          369 Filed
                                              Filed 08/07/06
                                                    08/07/06 Page
                                                              Page2 2ofof9 9
and should be granted leave to appeal (Criminal case 5:02cr27-5, Document No. 272.) The Fourth

Circuit appointed the Federal Public Defender at Raleigh, N.C. to represent Petitioner. Petitioner’s

appellate counsel challenged Petitioner’s sentence contending that the district court plainly erred

when it adopted the quantity of crack cocaine attributed to him in the presentence report without first

finding that the amount was within the scope of the criminal activity he agreed to jointly undertake.

On April 26, 2004, the Fourth Circuit issued an unpublished opinion affirming the sentence imposed

by this Court.

        On July 5, 2005 Petitioner filed the instant Motion to Vacate arguing that his trial counsel was

ineffective because he failed to file a timely appeal after Petitioner requested that he do so and that

his appellate counsel was ineffective for failing to file a writ of certiorari in the Supreme Court and

for failing to file a Blakely claim.2

        On August 10, 2005, this Court concluded that Petitioner failed to establish ineffective

assistance of counsel with respect to his claim that his trial attorney was ineffective for failing to file

a timely appeal on his behalf and dismissed this claim. Petitioner’s only surviving claim is that his

appellate counsel was ineffective for failing to file a writ of certiorari in the Supreme Court and for

failing to file a Blakely claim.

                                            II. ANALYSIS

        Ineffective Assistance of Appellate Counsel

        Petitioner’s appellate counsel, G. Alan DuBois, Assistant Federal Defender, submitted an

affidavit to the Court relative to his representation of Petitioner. According to his affidavit, on May

11, 2004, Mr. DuBois sent Petitioner a copy of the Fourth Circuit’s opinion affirming his conviction


        2
            Blakely v. Washington, 542 U.S. 296 (2004).

                                                    3


        Case
       Case   5:02-cr-00037-KDB Document
            5:02-cr-00037-KDB   Document369
                                         369 Filed
                                             Filed08/07/06
                                                   08/07/06 Page
                                                             Page3 of 99
                                                                   3 of
together with a letter explaining Petitioner’s right to seek certiorari before the United States Supreme

Court and informing Petitioner that, in counsel’s opinion, it was unlikely that the Supreme Court

would accept his case. Mr. DuBois also stated that he advised Petitioner that if he desired to exercise

his right to file a petition for certiorari to so advise him and he would file such a petition on

Petitioner’s behalf. Mr. DuBois further avers that his file contains no documentation showing that

Petitioner ever responded to his May 11, 2004 letter either orally or in writing requesting that he

prepare a petition for certiorari on his behalf and Mr. DuBois stated that he also has no recollection

that Petitioner ever asked him to file a writ of certiorari on his behalf. Finally, Mr. DuBois stated that

he is “quite certain” that he did not discuss Blakely with Petitioner before filing his brief or while his

case was pending in the Fourth Circuit because the Fourth Circuit decided Petitioner’s case on April

26, 2004 , 2 months prior to the Supreme Court’s decision in Blakely on June 24, 2004.

          On January 17, 2006 this Court received Petitioner’s letter dated December 4, 2005 in which

he avers that after receiving Mr. Dubois’ May 11, 2004 letter, he called Mr. DuBois “[f]rom around

May 11 and June 10th of 2004" and asked him to file a writ of certiorari in the Supreme Court on his

behalf.

          Petitioner’s contention that he received ineffective assistance of appellate counsel is governed

by the holding in Strickland v. Washington, 466 U.S. 668, 687-91 (1984). In Strickland, the Supreme

Court held that in order to succeed on an ineffective assistance of counsel claim, a petitioner must

establish that counsel’s performance was constitutionally defective to the extent it fell below an

objective standard of reasonableness, and that he was prejudiced thereby, and that there is a

reasonable probability that but for the error, the outcome would have been different. In making this

determination, there is a strong presumption that counsel’s conduct was within the wide range of


                                                     4


           Case
          Case 5:02-cr-00037-KDB   Document369
                 5:02-cr-00037-KDB Document 369 Filed
                                                Filed08/07/06
                                                      08/07/06 Page
                                                                Page4 of 99
                                                                      4 of
reasonable professional assistance. Id. at 689; Fields v. Attorney General of Md., 956 F.2d 1290,

1297-99 (4th Cir.), cert. denied, 474 U.S. 856 (1995). Petitioner bears the burden of proving

Strickland prejudice. Fields 956 F.2d at 1297. It petitioner fails to meet this burden, a “reviewing

court need not consider the performance prong. Id. at 1290.

        Petitioner alleges that his appellate counsel erred by failing to file a petition for writ of

certiorari in the United States Supreme Court pursuant to Petitioner’s instructions following the

Fourth Circuit’s affirmance of his sentence. However, unlike the mandatory jurisdiction of the courts

of appeals in a direct criminal appeal, “[r]eview on a writ of certiorari is not a matter of right, but of

judicial discretion.” Supreme Court Rule 10. While “indigent defendants pursuing appeals as of right

have a constitutional right to a brief filed on their behalf by an attorney, Anders v. California, 386

U.S. 738 (1967), that right does not extend to forums for discretionary review.” Austin v. United

States, 513 U.S. 5, 8 (1994). In the case of an unsuccessful appellant represented by counsel, the

attorneys responsibilities are outlined in the plan adopted by the Fourth Circuit Judicial Counsel

implementing the Criminal Justice Act of 1984. See 18 U.S.C. § 3006A.

        The Fourth Circuit plan provides that “counsel shall inform the defendant, in writing, of his

right to petition the Supreme Court for a writ of certiorari. If the defendant, in writing, so requests

and in counsel’s considered judgment there are grounds for seeking Supreme Court review, counsel

shall prepare and file a timely petition for such a writ and transmit a copy to the defendant.” Plan of

the United States Court of Appeals for the Fourth Circuit, In Implementation of the Criminal Justice

Act, § V, ¶ 2 (July 14, 2005).

        According to appellate counsel’s affidavit, he fully complied with these requirements by

sending Petitioner a letter on May 11, 2004, advising Petitioner of his right to seek certiorari before


                                                    5


        Case
       Case   5:02-cr-00037-KDB Document
            5:02-cr-00037-KDB    Document369
                                          369 Filed
                                              Filed 08/07/06
                                                    08/07/06 Page
                                                              Page5 5ofof9 9
the United States Supreme Court, informing him that in counsel’s opinion it was unlikely that

Petitioner’s case would be accepted, and requesting that Petitioner advise him in writing as soon as

possible if he wanted to file a petition for a writ of certiorari. Appellate counsel has no record of such

a communication from Petitioner advising that he desired counsel to file a writ of certiorari. Although

Petitioner has disputed the contents of appellate counsel’s affidavit in so much as Petitioner contends

that he did call counsel and ask that he file a writ of certiorari, Petitioner did not make this request

in writing as is required by the plan adopted by the Fourth Circuit Judicial Council. Furthermore,

the rule includes a two prong requirement; first that Petitioner request, in writing, that his counsel file

a writ of certiorari and second, only if counsel, in his considered judgment, believes there are grounds

for seeking Supreme Court review, shall counsel prepare and file a timely petition for such a writ and

transmit a copy to the defendant. Plan of the United States Court of Appeals for the Fourth Circuit,

In Implementation of the Criminal Justice Act, § V, ¶ 2 (July 14, 2005).

        Here, Petitioner did not make his request in writing and second, his counsel already explained

in his May 11, 2004 letter that in counsel’s opinion it was unlikely that Petitioner’s case would be

accepted.

        While the Court is troubled by Petitioner’s assertion that he did orally request that his counsel

file a writ of certiorari, the Fourth Circuit Plan requires that such a request be in writing and that

counsel, in his considered judgment, believes there are grounds for seeking Supreme Court review.

Here, counsel advised Petitioner through his May 11, 2004 letter that he did not believe Petitioner’s

case would be accepted for review by the Supreme Court. Furthermore, by his own admission,

Petitioner’s request that counsel file a writ of certiorari was not in writing. Appellate counsel’s

affidavit convinces this Court that counsel was not deficient in his performance as he sent a letter to


                                                    6


        C
        Case
       Case 5:02-cr-00037-KDB   Document369
              5:02-cr-00037-KDB Document 369 Filed
                                             Filed08/07/06
                                                   08/07/06 Page
                                                             Page6 of 99
                                                                   6 of
Petitioner advising him of his right to seek certiorari and asking that Petitioner advise him in writing

whether he wished to pursue a writ of certiorari before the United States Supreme Court. Petitioner’s

letter confirms that Petitioner did in fact receive his counsel’s letter informing him that the Fourth

Circuit affirmed his conviction. Therefore this is not a case in which Petitioner is alleging that his

counsel was ineffective for failing to advise him of the disposition of his appeal and the right to

petition for certiorari. See King v. United States, 11 Fed.Appx. 219 (4th Cir. 2001) (unpublished

opinion)(If counsel did not advise petitioner of the disposition of his criminal appeal and of the

opportunity to seek a writ of certiorari from the Supreme Court, counsel would be ineffective under

both prongs of Strickland.) Instead, this is a case of Petitioner claiming his counsel was ineffective

for failing to file a writ of certiorari in the Supreme Court after being informed, in writing, by his

counsel that his case was affirmed in the Fourth Circuit and of his right to petition the Supreme Court

for a writ of certiorari. Petitioner concedes that his request that his attorney file a writ of certiorari

was over the phone and not in writing as is required by the plan adopted by the Fourth Circuit Judicial

Counsel. Petitioner’s counsel filed an affidavit with this Court stating that he has no record of an oral

or written communication from Petitioner in his file concerning a request that he file a writ of

certiorari in the Supreme Court.

        Petitioner’s mere statement that appellate counsel erred by not following his oral instructions

to file a petition for writ of certiorari is insufficient to meet his burden that his counsel was ineffective

under the Strickland standard. Moreover Petitioner concedes that he did not make a written request

that his counsel file a writ of certiorari as is required by the plan adopted by the Fourth Circuit

Judicial Counsel. Finally, Petitioner admits to receiving counsel’s May 11, 2004 letter advising him

of the Fourth Circuit’s decision affirming his conviction and of his right to file a writ of certiorari in


                                                      7


       CaseCase 5:02-cr-00037-KDB Document
            5:02-cr-00037-KDB      Document369
                                            369 Filed
                                                 Filed08/07/06
                                                       08/07/06Page 7 of79of 9
                                                                 Page
the Supreme Court. Therefore, Petitioner has not met his burden of establishing that his appellate

counsel was ineffective. The Court concludes that appellate counsel was not deficient in his

performance in representing Petitioner as he sent Petitioner a letter advising him of his right to seek

certiorari and asking that Petitioner advise him in writing as soon as possible as to whether he desired

to pursue such a writ. Appellate counsel has no record of Petitioner responding to his letter.

        Next, Petitioner contends that his appellate counsel was ineffective because counsel failed to

file a claim on Petitioner’s behalf pursuant to Blakely v. Washington, 542 U.S.296 (2004). This claim

of ineffective assistance of counsel must also fail. The Fourth Circuit affirmed Petitioner’s conviction

on April 26, 2004, two months prior to the Supreme Court’s decision in Blakely on June 24, 2004.

Moreover, Petitioner plead guilty and stipulated that he was accountable for 1.5 kilograms or more

of cocaine base. There is no Sixth Amendment violation when a defendant pleads guilty and

stipulates to relevant facts for sentencing purposes. See Blakely, 124 S. Ct at 2541 (“[N]othing

prevents a defendant from waiving his Apprendi rights. When a defendant pleads guilty, the

[government] is free to seek judicial sentence enhancements so long as the defendant either stipulates

to the relevant facts or consents to judicial factfinding.”) Booker, 125 S. Ct at 756; see also United

States v. Lucca, 377 F.3d 927, 934 (8th Cir. 2004) (holding that Blakely was not implicated where

defendant was sentenced based solely upon facts admitted as part of his plea). Here, Petitioner

stipulated at sentencing to the drug quantity set forth in the PSR; therefore, his sentence was not

enhanced as a result of judicial finding concerning drug quantity that went beyond the facts admitted

by Petitioner. There was no Sixth Amendment violation under Blakely or Booker and appellate

counsel was not deficient for failure to raise a Blakely challenge.




                                                   8


        Case
       Case   5:02-cr-00037-KDB Document
            5:02-cr-00037-KDB   Document369
                                         369 Filed
                                             Filed08/07/06
                                                   08/07/06 Page
                                                             Page8 of 99
                                                                   8 of
                                      III. ORDER

      NOW, THEREFORE, IT IS HEREBY ORDERED that Respondent’s Motion for

Summary Judgment is GRANTED and Petitioner’s Motion to Vacate is dismissed.



SO ORDERED.



                                            Signed: August 7, 2006




                                            9


       Case
      Case   5:02-cr-00037-KDB Document
           5:02-cr-00037-KDB   Document369
                                        369 Filed
                                            Filed08/07/06
                                                  08/07/06 Page
                                                            Page9 of 99
                                                                  9 of
